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   1   Joseph R. Manning, Jr., Esq. (SBN 223381)
   2
       MANNING LAW, APC
       20062 SW Birch St., Suite 200 Newport Beach, CA 92660
   3   Tel: (949) 200-8755 Fax: (866) 843-8308
   4
       DisabilityRights@manninglawoffice.com

   5   Attorneys for Plaintiff:
   6
       JAMES RUTHERFORD

   7   Keith Rozanski (SBN 232330)
   8   krozanski@hbblaw.com
       HAIGHT BROWN & BONESTEEL LLP
   9   555 South Flower Street, Forty-Fifth Floor
  10   Los Angeles, California 90071
       Telephone: 213.542.8000
  11   Facsimile: 213.542.8100
  12
       Attorneys for Defendant
  13   FRANKLIN REAL ESTATE, L.P.
  14
                          UNITED STATES DISTRICT COURT
  15

  16                    CENTRAL DISTRICT OF CALIFORNIA

  17     JAMES RUTHERFORD, an                  Case No.: 5:20-cv-01432-GW-SHK
  18     individual,
                                               Hon. George H. Wu
  19     Plaintiff,
  20                                           JOINT NOTICE OF SETTLEMENT
         v.
  21                                           Complaint Filed: July 20, 2020
  22     FRANKLIN REAL ESTATE,                 Trial Date: None Set
         L.P., a Delaware limited
  23     partnership; and DOES 1-10,
  24     inclusive,
  25     Defendants.
  26
  27

  28
              TO THE COURT, ALL PARTIES AND THEIR COUNSEL OF RECORD:
                                  JOINT NOTICE OF SETTLEMENT
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   1         Plaintiff, JAMES RUTHERFORD, and Defendant, FRANKLIN REAL
   2
       ESTATE, L.P., (the “Parties”) have reached a settlement in this matter and expect
   3

   4
       to file a joint stipulation for dismissal of the action pending completion of certain

   5   terms of the confidential settlement agreement.
   6
       Dated: November 4, 2020                 MANNING LAW, APC
   7

   8                                           By:    /s/ Joseph R. Manning, Jr. Esq.
   9                                                  Joseph R. Manning, Jr., Esq.
                                                      Attorneys for Plaintiff,
  10                                                  Anthony Bouyer
  11
       Dated: November 4, 2020                 HAIGHT BROWN & BONESTEEL LLP
  12

  13
                                               By:    /s/ Michael B. Wilson
  14                                                  Michael B. Wilson
  15                                                  Attorney for Defendant,
                                                      Franklin Real Estate, L.P.
  16

  17                             CERTIFICATE OF SERVICE

  18         I certify that on November 4, 2020, I electronically filed the foregoing

  19   document with the Clerk of the Court using CM/ECF. I also certify that the

  20   foregoing document is being served this day on counsel of record in this action via

  21   email transmission and via transmission of Electronic Filing generated by

  22   CM/ECF.

  23                                                  Respectfully submitted,

  24
       Dated: November 4, 2020                 MANNING LAW, APC
  25
                                               By:    /s/ Joseph R. Manning, Jr. Esq.
  26                                                  Joseph R. Manning, Jr., Esq.
  27                                                  Attorneys for Plaintiff
                                                      James Rutherford
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                                 JOINT NOTICE OF SETTLEMENT
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